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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
     V.                                         :       CASE NO. 1:21-CR-00118-RCL
                                                :
                                                :
ERIC MUNCHEL,                                   :
                                                :
                                                :
                        DEFENDANT.              :


 NOTICE OF FILING OF GOVERNMENT’S POSITION REGARDING DEFENDANT
     MUNCHEL’S VIOLATION OF CONDITIONS OF PRE-TRIAL RELEASE

        The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, respectfully files this notice of the government’s position regarding

Defendant Eric Munchel’s violation of conditions of pre-trial release as described in ECF 91.

    I. Background

        On January 6, 2021, thousands of people participated in an attack on the Capitol in an

effort to disrupt the certification of the results of the 2020 presidential election. They forced their

way into a federal building that was closed to the public on that day, requiring many elected

officials and their staff – fearing for their safety – to flee or shelter in place, and injuring over

one hundred law enforcement officers.

        Defendant Munchel and co-defendant Lisa Eisenhart are charged in an eight-count

superseding indictment for their conduct on January 6, 2021 (ECF 76). The facts are summarized

in the Court’s Memorandum Opinion regarding detention, ECF 24. On January 6, 2021, Munchel

and Eisenhart worked their way through the crowd gathered outside of the Capitol, with

Eisenhart encouraging others to enter the Capitol. Eisenhart celebrated reports that Congress had

been “shut down” by tear gas and encouraged a man who claimed to have “punched two of them
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in the face[.]” See ECF 24 at 3. Munchel and Eisenhart entered the Capitol on January 6, 2021

while clad in tactical vests after stashing unidentified weapons in a backpack outside. See ECF

24 at 2-3. Munchel wore a Taser holstered to his hip when he entered the Capitol. See ECF 24 at

3. Eisenhart understood Munchel was armed as he stated to her that it was “probably the last time

I’ll be able to enter the building with armor and . . . fucking weapons.” See ECF at 3. Both

Munchel and Eisenhart breached the Capitol, and both obtained zip-ties while inside of the

Capitol. See ECF 24 at 4. Munchel and Eisenhart entered the Senate gallery with the zip-ties.

See ECF 24 at 4. Both left the Capitol building shortly thereafter, having spent approximately 12

minutes inside the building.

       Defendants Munchel and Eisenhart were originally detained pre-trial. The defendants

appealed their pre-trial detention. Following the March 26, 2021 decision by the U.S. Court of

Appeals for the District of Columbia Circuit, the United States withdrew its motion for detention

and did not oppose release of the Defendants under the pretrial bond with special conditions

including home detention and location monitoring. (ECF 59). Both defendants were

subsequently released with the special conditions of release. ECF 60 & 61 (Conditions of

Release).

       Among other conditions, Defendant Munchel was released to home detention in the

custody of a third-party custodian, placed on GPS monitoring, and ordered not to use alcohol

excessively. On August 23, 2021, Defendant Munchel filed an unopposed motion to transfer

third party custodian to his brother, Alex Munchel. (ECF 83). The Defendant’s motion stated that

Alex Munchel’s acknowledgement had been filed under seal, but this acknowledgment was not

provided to the government. The government was consulted by defense counsel on this request

and did not oppose. The Court has not ruled on this motion.




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    II. Violation

        On September 6, 2021, Pretrial Services filed a Pretrial Violation Report with respect to

Eric Munchel based on Munchel’s eviction by his third-party custodian and his contributive

behavior leading up to the eviction. The circumstances are described in the violation report, ECF

91. Pretrial Services requested an immediate hearing to address the defendant’s behavior and to

appoint a new third-party custody.

        The government has consulted with Pretrial Services who has advised the government

that Alex Munchel has now been screened and that Pretrial Services does not object to his

appointment as a third-party custodian.

    III. Proposed Action

        The government requests that the Court grant the Defendant’s motion to transfer third-

party custodian to Alex Munchel. If Alex Munchel’s acknowledgment has not been filed under

seal, the government requests that such an acknowledgment be filed or that the Court convene a

hearing so that Alex Munchel can be sworn as a third party custodian.

        The government further requests, in light of the Defendant’s contributive behavior to his

eviction from the residence of his first third-party custodian, that the Court modify the

Defendant’s conditions of release and order that the Defendant not use alcohol, at all, while on

pre-trial release.

        Should the Defendant again fail to comply with conditions of release while under the

supervision of his new third party custodian, the United States will move to revoke his pretrial

release.




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       WHEREFORE, for the foregoing reasons, the government requests this Court grant the

Defendant’s Motion for Transfer of Third Party Custodian, ECF 83, and modify the Defendant’s

conditions of release to prohibit any use of alcohol while on pre-trial release.


                                                      Respectfully submitted,

                                                      Channing D. Phillips
                                                      Acting U.S. Attorney
                                                      D.C. Bar No. 415793

                                                      /s/ Leslie A. Goemaat
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                               CERTIFICATE      OF   SERVICE

       I HEREBY CERTIFY that I have caused a copy of the foregoing notice to be served

by electronic means, through the Court’s CM/ECF system, upon all parties of record.


                                                          /s/ Leslie A. Goemaat
                                                          L ESLIE A. G OEMAAT
                                                          Assistant United States Attorney
